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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                )
COMMITTEE FOR A CONSTRUCTIVE    )
TOMORROW, et al.,               )
                                )
            Plaintiffs,         )
                                ) Case No. 24-cv-00774 (LLA)
     v.                         )
                                ) Hon. Loren L. AliKhan
UNITED STATES DEPARTMENT OF THE )
INTERIOR, et al.,               )
                                )
            Defendants.         )
                                )

                  PLAINTIFFS’ MEMORANDUM IN SUPPORT
                   OF MOTION FOR SUMMARY JUDGMENT


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October 4, 2024
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   Ex. 1      Letter from Dr. Sean A. Hayes to Brian R. Hooker, Lead Biologist at the
              Bureau of Ocean Energy Management

   Ex. 2      Declaration of Craig Rucker and the Committee for a Constructive
              Tomorrow

   Ex. 3      Declaration of Peter Flaherty and the National Legal and Policy Center




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Abbreviation   Definition
APA            Administrative Procedure Act
BOEM           Bureau of Ocean Energy Management
BPA            Bisphenol A
CFACT          Citizens for a Constructive Tomorrow
COP            Construction and Operations Plan
CVOW           Coastal Virginia Offshore Wind
DEIS           Draft Environmental Impact Statement
EIS            Environmental Impact Statement
ESA            Endangered Species Act
FWS            United States Fish and Wildlife Service
ITS            Incidental Take Statement
NARW           North Atlantic Right Whale
NEPA           National Environmental Policy Act
NMFS           National Marine Fisheries Service
NOAA           National Oceanic and Atmospheric Administration
OCS            Outer Continental Shelf
PET            Polyethylene Terephthalate
PFA            Perfluoroalkyl/Polyfluoroalkyl
PVC            Polyvinyl Chloride




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                     PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                        MOTION FOR SUMMARY JUDGMENT

ISSUES PRESENTED FOR REVIEW

1.     Was the National Marine Fisheries Service’s (NMFS) Biological Opinion for the Coastal

Virginia Offshore Wind Project (Dominion Wind Project) and its determination of No Jeopardy

arbitrary and capricious and, a clear error in judgment, in violation of the Administrative

Procedure Act (APA) because the agency disregarded all known and available information about

the aggregate impacts of the Dominion Wind Project and the other 29 planned offshore wind

projects on the North Atlantic Right Whale?

2.     Do NMFS’ regulations, which allow the agency to ignore some cumulative impacts on

endangered species in its Section 7 analysis, fall short of NMFS’ obligations under the plain

language of the Endangered Species Act (ESA)?

3.     Do Plaintiffs have standing under the Endangered Species Act to pursue their claims?

FACTUAL BACKGROUND

1.     The Federal Government Launches an Aggressive, Coordinated Program to
       Construct Thousands of Offshore Wind Turbines in the Atlantic Ocean

       In March 2021, the administration identified a series of “bold actions” to “catalyze

offshore wind energy” development.1 The Government announced its goal of deploying 30

gigawatts of offshore wind energy by 2030 and stated that it was taking “coordinated steps to

support rapid offshore wind deployment.”2 To meet the 2030 target, the administration




1
  Biden Administration, Fact Sheet: Biden Administration Jumpstarts Offshore Wind Energy
Projects to Create Jobs (Mar. 29, 2021), https://www.whitehouse.gov/briefing-room/statements-
releases/2021/03/29/fact-sheet-biden-administration-jumpstarts-offshore-wind-energy-projects-
to-create-jobs/.
2
  Id.
                                                 1
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announced a plan to advance new lease sales and review “at least 16 Construction and

Operations Plans (COPs) by 2025.”3

       As of today, 30 offshore wind projects are in various stages of development, all of which

will be located in, along, or near the endangered North Atlantic Right Whale’s migration path

and habitat.4 In its Final Environmental Impact Statement (EIS), the Bureau of Ocean Energy

Management (BOEM) concluded that “[o]ver 3,287 structures . . . could be constructed in the

geographic analysis area . . . for planned offshore wind projects[,]”5 and that “[c]onsidering all of

the [Impact Producing Factors] together, BOEM anticipates that the impacts from ongoing and

planned actions, including Alternatives B and C, would result in overall major impacts on the

[North Atlantic Right Whale].”6

2.     Federal Agencies Approve Massive Dominion Wind Project

       In December 2020, Dominion Energy submitted a COP for the Dominion Wind Project,7

and on September 18, 2023, NMFS issued a Biological Opinion, which concluded that the

Dominion Wind Project, one of the largest offshore wind projects planned with 176 turbines,

three offshore substations, and hundreds of miles of inter-array cables,8 would not jeopardize any

endangered species or their habitat. 9




3
  Id.
4
  See Bureau of Ocean Energy Management, BOEM and NOAA Fisheries North Atlantic Right
Whale and Offshore Wind Strategy (Jan. 2024) at 5,
https://www.boem.gov/sites/default/files/documents/environment/BOEM_NMFS_NARW_OSW
_0.pdf (Strategy on the North Atlantic Right Whale).
5
  BOEMCVOW_438.
6
  BOEMCVOW_463 (emphasis added).
7
  BOEMCVOW_120988.
8
  BOEMCVOW_2162.
9
  See BOEMCVOW_18085; BOEMCVOW_18315.
                                                 2
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       Every year, over 10 million visitors travel to Virginia Beach to enjoy the open ocean

view, relax on the beach, and enjoy the nearby wildlife. From December to March, several

species of whales, including the endangered North Atlantic Right Whale, migrate through and

live in the waters off Virginia Beach. Once constructed, the Dominion Wind Project will consist

of 176 turbines on 112,799 acres, approximately 27 miles off the coast of Virginia Beach,

Virginia.10

       Each turbine will require 2.86 acres of scour protection—boulders and concrete

mattresses—around the foundation on the ocean floor,11 and 229 miles of 660-kilovolt inter-

array cables will be buried in the ocean floor. Each turbine will be installed using pile driving

which requires a massive ship that hammers these foundations into the ocean floor.12 The

installation of turbines, inter-array cables, export cables, scour protection, and cable protection

will permanently damage thousands of acres of the seafloor, destroying and disturbing habitats,

fish, and protected species. Constructing this offshore power plant’s components involves

significant excavation of the seafloor over many miles and, sometimes, requires the use of

explosive devices. The laying of scour and cable protection, as concrete mattresses (8 feet by 20

feet), rock bags, etc., along the export and inter-array cables further disrupts the seafloor and

crushes the organisms on the seafloor.13

       By narrowing the focus of its analysis, NMFS concluded that noise and behavioral

disruption from the turbine construction would be at most temporary harassment of the Right

Whales:




10
   See BOEMCVOW_28; see also BOEMCVOW_37; see also BOEMCVOW_120.
11
   See BOEMCVOW_18103.
12
   See id.
13
   See BOEMCVOW_168.
                                                  3
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       [T]he only adverse effects to [North Atlantic Right Whales] expected to result from
       the [Dominion Wind] project are temporary behavioral disturbance and/or
       temporary threshold shift in hearing from exposure to pile driving noise during
       installation of WTG and OSS foundations. We consider these adverse effects as
       harassment under the ESA. Up to 6 individual [North Atlantic Right Whales] a
       year, for a total of 12 individuals over two years . . . exposed to noise above the
       behavioral threshold from foundation pile driving noise. No mortality or permanent
       injury (auditory or other) is expected from exposure to any aspect of the proposed
       action during the construction, operations, or decommissioning phases of the
       project.14

        NMFS’ regulation allowed it to ignore the cumulative impacts of thousands of other

wind turbines to be installed as part of the 29 other wind turbine projects planned for

construction up and down the Atlantic coastline. NMFS also did not consider the effects of wind

turbine structural failures—such as turbine or blade collapse—on the continued survival of the

North Atlantic Right Whale that are occurring on wind turbines all over the world, including

offshore of Nantucket, Massachusetts.15

       Academics have long decried the gulf between the ESA’s statutory requirements and the

agencies’ inconsistent and inadequate regulations:

       While lawmakers envisioned these restrictions as “the institutionalization of . . . .
       caution,” implementation of the statute has instead allowed a steady drumbeat of
       adverse impacts from federal actions that incrementally push protected species
       further toward the brink. The U.S. Fish and Wildlife Service (FWS) and National
       Marine Fisheries Service (NMFS), the two expert agencies responsible for
       assessing other federal agencies’ compliance with section 7’s prohibitions
       (collectively the Services), routinely sanction actions that negatively affect both
       listed species and the habitat designated as essential to their conservation—leaving
       species’ recovery to an often unspecified, uncertain, and distant date in the future.
       On their face, the prohibitions in section 7(a)(2) appear to draw clear lines in the
       sand that prevent actions by federal agencies from driving threatened and
       endangered species closer to extinction and gradually diminishing habitat essential
       to these species’ recovery. However, both regulators tasked with implementing the




14
  BOEMCVOW_18301.
15
  Northeast Ocean Data, Energy and Infrastructure, https://www.northeastoceandata.org/data-
explorer/?energy-infrastructure|planning-areas (last accessed Apr. 26, 2024).
                                                 4
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        ESA have interpreted this part of the statute to allow for continued incremental
        declines of both listed species and their designated critical habitat.16

        The statistics tell a story of agency neglect under the federal agency’s narrowed

interpretation of its responsibility under the ESA:

        An analysis covering more than seven years and ending in 2015 found that FWS
        issued only two biological opinions concluding that a federal project would
        jeopardize a listed species (out of over 88,000 formal and informal consultations);
        no opinion found destruction or adverse modification of critical habitat. A study
        evaluating biological opinions issued between 2005-2009 found a slightly higher
        incidence of FWS biological opinions finding jeopardy and destruction or adverse
        modification of critical habitat—2.4% and 0.6% of BiOps respectively.17

        But, as required by the National Environmental Policy Act (NEPA), BOEM issued its

Final EIS on September 29, 2023, which identified the cumulative impacts from other projects

and numerous impacts on the environment, including impacts on the North Atlantic Right

Whale, stating that that “[o]ver 3,287 structures . . . could be constructed in the geographic

analysis area . . . for planned offshore wind projects[,]”18 and that “[c]onsidering all of the

[Impact Producing Factors] together, BOEM anticipates that the impacts from ongoing and

planned actions, including Alternatives B and C, would result in overall major impacts on the

[North Atlantic Right Whale].”19 BOEM explained that it categorized those impacts as major

“because serious injury or loss of an individual would result in population-level impacts that

threaten the viability of the species.”20




16
   Daniel J. Rohlf & Colin Reynolds, Daniel J. Rohlf & Colin Reynolds, Restoring the
Emergency Room: How to Fix Section 7(a)(2) of the Endangered Species Act, 52 Envtl. L. 685,
686 (2022).
17
   Id.
18
   BOEMCVOW_438.
19
   BOEMCVOW_463 (emphasis added).
20
   Id.
                                                  5
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       Ignoring the cumulative impacts identified in the Final EIS and required under the plain

language of the ESA, on October 30, 2023, BOEM and NMFS issued a Joint Record of Decision

announcing the approval of the Construction and Operations Plan for the Dominion Wind

Project.21

3.     The North Atlantic Right Whale Is a Critically Endangered Species That Cannot
       Afford to Lose a Single Member

       The North Atlantic Right Whale (Eubalaena glacialis) lives primarily in the western

North Atlantic Ocean.22 According to NMFS, while little is known about the Right Whale’s

habitat use of the mid-Atlantic, “recent acoustic data indicate near year round presence of at least

some whales off the coasts of New Jersey, Virginia [where the Dominion Wind Project is

located], and North Carolina.”23

       Few species are as imperiled as the North Atlantic Right Whale. According to NMFS,

“none of the species recovery goals” have been met.24 NMFS has therefore not even identified

specific criteria for delisting the Right Whale in the species’ recovery plan because conditions to

support delisting are “too distant and hypothetical to realistically develop specific criteria.”25

NMFS stated in its Biological Opinion for the Dominion Wind Project that the whale’s

“resilience to future perturbations affecting health, reproduction, and survival is expected to be

very low.”26

       According to BOEM in its Final EIS:

       The total annual average observed human-caused mortality and serious injury for
       the [North Atlantic Right Whale] is 8.1 individuals per year, averaged over the


21
   Id.
22
   BOEMCVOW_18143.
23
   BOEMCVOW_18145 (citing Davis et al. 2017).
24
   BOEMCVOW_18147.
25
   BOEMCVOW_18154.
26
   BOEMCVOW_18148 (citing Hayes et al. 2018).
                                                  6
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       period between 2016 and 2020, though this likely represents an underestimate as
       not all mortalities are recorded (Hayes et al. 2023). Modeling using the 2015 to
       2019 estimated annual means to account for undetected mortality and serious injury
       suggests the mortality rate could be as high as 31.2 animals per year (Hayes et al.
       2023). Importantly, [North Atlantic Right Whale] mortalities exceed the species’
       calculated potential biological removal (0.7 individuals per year).27

       BOEM concluded in its Final EIS that, when coupled with the species’ low reproduction

rate and small population size, “all human-caused mortalities have the potential to impact their

population status.”28

       BOEM and NMFS also acknowledged the dire status of the North Atlantic Right Whale

in their Strategy on the North Atlantic Right Whale and Offshore Wind:29

       Due to the declining status of [North Atlantic Right Whales], the resilience of this
       population to stressors affecting their distribution, abundance, and reproductive
       potential is low. The species faces a high risk of extinction . . . [and] the loss of
       even one individual a year may reduce the likelihood of recovery and of the species’
       achieving optimum sustainable population.30

       Yet, under the federal government’s “coordinated” plan of constructing offshore wind

turbine projects in the Atlantic Ocean, all wind turbines will be sited near or directly in the

migratory path of the Right Whale.31

4.     NMFS Excluded from Its Biological Opinion Known Environmental Impacts of
       Turbine Failures

       In its Biological Opinion for this Project, NMFS identified several activities that could

adversely affect the continued survival of the Right Whale, including fishing entanglements and




27
   BOEMCVOW_417.
28
   BOEMCVOW_417 (emphasis added).
29
   See Strategy on the North Atlantic Right Whale supra note 4.
30
   Id. at 10 (emphasis added).
31
   Id.
                                                  7
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vessel strikes.32 NMFS also identified climate change as another potential issue affecting the

survival of the species.33

       But NMFS ignored known impacts from the structural failure of wind turbines and their

blades that have occurred in other projects, impacts that will likely affect the continued survival

of the Right Whale. That the massively large wind turbines built in the Atlantic Ocean are

experiencing structural issues from lightning strikes, heavy wind and rain, bird strikes, and

human error never seemed to cross the minds of the agencies reviewing the environmental

impacts of the Project. Now the evidence continues to mount showing that wind turbines are

experiencing significant and catastrophic structure problems, which the federal agencies did not

mention even once in their environmental review of this Project. And any disaster or emergency

response plan for clean-up was hidden from public view and comment.

       On July 13, 2024, a large portion of a 350-foot, 57-ton fiberglass, Polyvinyl chloride

(PVC), and polyethylene terephthalate (PET) blade broke off a newly constructed turbine in the

Vineyard Wind 1 Project, scattering thousands of shards across the ocean’s surface. Over the

next few days, additional pieces of the blade also fell into the ocean, adding to the mayhem. The

Coast Guard sealed off the area from ship transit, and the developer of that project attempted to

remove shards of the shattered blade from the ocean. These efforts were largely unsuccessful,

and thousands of tons of debris washed ashore not only in Nantucket fifteen miles away—

closing its beaches—but were also carried many miles away to wash up on Martha’s Vineyard,

Cape Cod, and the shores of Rhode Island and Long Island.34



32
   BOEMCVOW_18147; see also BOEMCVOW_463.
33
   BOEMCVOW_18154.
34
   Matt Schooley, Vineyard Wind Shut Down After Turbine Failure Sends “Sharp Fiberglass
Shards” Onto Nantucket Beaches (July 17, 2024),
https://www.cbsnews.com/boston/news/nantucket-beaches-closed-vineyard-wind/.
                                                 8
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       Vineyard Wind’s blade failure is not an isolated incident. Recently, a blade on one of the

turbines at the Dogger Bank wind project off the coast of England failed—the second blade

failure at that facility in three months.35 Globally, 0.54% of blades fail each year, with around

3,800 failures yearly.36 In 2022, a blade—the height of an 11-story building weighing over four

Toyota Camrys—flew off a turbine at the Bigelow Canyon project and landed in a nearby field,

creating a four-foot-deep trench where it landed.37 There are also repeated instances of turbines

collapsing across the world. Turbines in Germany, Oklahoma, Wisconsin, Wales, and Colorado

have all collapsed within the last several years,38 several of which were caused by turbine fires

and lightning strikes.

       In January 2024, a turbine in a northern Colorado wind project caught fire and folded in

half. Shortly after the collapse, the turbine’s owners speculated that “a blade malfunctioned and

struck the tower, causing the collapse much like the side of a soda can being poked.”39 In May

2024, a wind turbine in Chesapeake, Virginia, caught fire after being struck by lightning.40 In




35
   Second GE Vernova Turbine Blade Reportedly Fails at UK’s Dogger Bank Wind Farm,
Offshore (Aug. 23, 2024), https://www.offshore-mag.com/renewable-
energy/article/55135538/second-ge-vernova-turbine-blade-reportedly-fails-at-uks-dogger-bank-
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   Leon Mishnaevsky, Jr., Root Causes and Mechanisms of Failure of Wind Turbine Blades:
Overview, National Library of Medicine (Apr. 19, 2022) at 1,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9101399/pdf/materials-15-02959.pdf.
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   Ted Sickinger, Wind Bust, The Oregonian (Aug. 27, 2022),
https://projects.oregonlive.com/wind-farms/.
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https://www.popularmechanics.com/technology/infrastructure/a42622565/wind-turbines-falling-
over/.
39
   Logan Smith, Turbine at Colorado Wind Farm Collapses, Burns, CBS News (Jan. 15, 2024),
https://www.cbsnews.com/colorado/news/turbine-colorado-wind-farm-collapses-burns-
invenergy-clearway-clean-energy-fire/.
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   Patriceia Beckford, Lightning Catches Wind Turbine on Fire at Brock Environmental Center,
13 News Now (May 27, 2024), https://www.13newsnow.com/article/weather/brock-
                                                 9
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Iowa, one landowner has had three turbines catch on fire after being struck by lightning in the

last eighteen months.41 After catching on fire, the turbine blades fell to the ground, littering

adjacent land with debris, including turbine components.42

       Turbine debris is hazardous for fish and marine mammals that will eventually consume

the microplastic degradation products or come into contact with the chemicals and toxins.43

Almost all of the blade debris consists of PVC and PET foam. Exposure to sunlight, wind, rain,

and ocean water will degrade PVC foam, allowing it to contaminate the marine food chain with

microplastics. As reported in the peer-reviewed journal “Materials,” in January of this year,

“PVC is considered the most environmentally damaging plastic and one of the most toxic

substances for inhabitants of our planet.”44

       Likewise, PET in the marine environment is toxic to species ranging from copepods (the

primary food source for the North Atlantic Right Whale) and sea bass to marine mammals.45 The

epoxy resins that impregnate the blades contain large quantities of Bisphenol A (BPA). BPA acts

like a hormone in the body and can increase the risk of prostate, breast, and ovarian cancer in




environmental-center-wind-turbine-catches-fire-due-to-lightning/291-23d0907e-0746-4b48-
ae94-68d89547859e.
41
   Jackson Valenti, Wind Turbine Fire in Mechanicsville Could Cost Farmer Millions, KCRG
(Aug. 16, 2024), https://www.kcrg.com/2024/08/17/wind-turbine-fire-mechanicsville-could-cost-
farmer-millions/.
42
   Id.
43
   See NOAA Fisheries, Offshore Wind Energy: Protecting Marine Life,
https://www.fisheries.noaa.gov/topic/offshore-wind-energy/protecting-marine-life (last visited
Oct. 1, 2024); see also NOAA Fisheries, Ocean Pollution and Marine Debris (Apr. 1, 2020),
https://www.noaa.gov/education/resource-collections/ocean-coasts/ocean-pollution.
44
   Marcin H. Kudzin, Risks Associated with the Presence of Polyvinyl Chloride in the
Environment and Methods for Its Disposal and Utilization (Dec. 28, 2023),
https://www.mdpi.com/1996-1944/17/1/173.
45
   Subhankar Chatterjee and Shivika Sharma, Microplastics In Our Oceans and Marine Health,
Field Actions Science Reports (2019), https://journals.openedition.org/factsreports/5257.
                                                  10
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humans.46 BPA can also cause weight gain,47 influence development,48 and alter the immune

system.49

       Up to 20% of the PVC foam contains toxic additives and resins released when the foam

degrades. The material safety data sheet by Vineyard Wind on the composition of the blade lists

a plethora of harmful substances, many of which are also considered cancer-causing, including

styrene,50 phthalates, formaldehyde,51 benzene,52 PFAs,53 and butadiene.54

       Because the threat of a blade or turbine failure is highly likely, these failures should have

been evaluated and raised in the Government’s environmental review documents for the

Dominion Wind Project before BOEM or any other agency issued its approvals. Because BOEM

and NMFS did not even address the possibility of blade and turbine failures, the public was

never informed that this event could occur and had no real opportunity to comment on the




46
   Hui Gao et al., Bisphenol A and Hormone-Associated Cancers: Current Progress and
Perspectives (Jan. 2015), https://journals.lww.com/md-
journal/fulltext/2015/01010/bisphenol_a_and_hormone_associated_cancers_.6.aspx.
47
   Minh T. Do et al., Urinary bisphenol A and obesity in adults: results from the Canadian
Health Measures Survey (Dec. 2017), https://pubmed.ncbi.nlm.nih.gov/29236378/.
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   Mass.gov, Protect Your Baby from BPA (Bisphenol A), https://www.mass.gov/info-
details/protect-your-baby-from-bpa-bisphenol-a (last visited Aug. 20, 2024).
49
   Thea Golden et al., Immunomodulatory Role of EDCs in Disrupting Metabolic Health,
Endocrine Disruption and Human Health (Philippa D. Darbre, ed., 2d ed. 2022).
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   National Toxicology Program, 15th Report on Carcinogens (Dec. 21, 2021),
https://www.ncbi.nlm.nih.gov/books/NBK590797/.
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   National Cancer Institute, Formaldehyde, https://www.cancer.gov/about-cancer/causes-
prevention/risk/substances/formaldehyde (last visited Oct. 4, 2024).
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   U.S. Centers for Disease Control and Prevention, Facts About Benzene,
https://emergency.cdc.gov/agent/benzene/basics/facts.asp#:~:text=The%20Department%20of%2
0Health%20and,of%20the%20blood%2Dforming%20organs (last visited Oct. 4, 2024).
53
   National Cancer Institute, PFAS Exposure and Risk of Cancer,
https://dceg.cancer.gov/research/what-we-study/pfas (last visited Oct. 4, 2024).
54
   Agency for Toxic Substances and Disease Registry, ToxFAQs for 1,3-Butadiene,
https://wwwn.cdc.gov/TSP/ToxFAQs/ToxFAQsDetails.aspx?faqid=458&toxid=81 (last visited
Oct. 4, 2024)
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scenario. NMFS and BOEM should have analyzed this risk as it related to endangered species

before approving this Project.

       The number of published studies considering the effects of microplastic particles on

aquatic organisms is considerable. In aquatic invertebrates, microplastics cause a decline in

feeding behavior and fertility, slow down larval growth and development, increase oxygen

consumption, and stimulate the production of reactive oxygen species. In fish, the microplastics

may cause structural damage to the intestine, liver, gills, and brain, while affecting metabolic

balance, behavior, and fertility; the degree of these harmful effects depends on the particle sizes

and doses and the exposure parameters.55

       A recent study determined that PET fibers are commonly found in marine mammals’

tissues.56 These microplastics can cause inflammation, tissue damage, fertility problems,

endocrine disruption, and behavioral changes, diminishing the resiliency of marine species,

including baleen whales.57

       The Final EIS’s analysis on the release of these toxins and debris from blade failures and

Project equipment failures is nonexistent. NMFS’ analysis in the Biological Opinion is also

deficient. While there is a minimal discussion of marine debris and pollution, NMFS admits that

its analysis is mostly speculative because “data on marine debris” in the action area “is largely



55
   Natalia Zolotova et al., Harmful Effects of the Microplastic Pollution on Animal Health: A
Literature Review, National Library of Medicine (June 14, 2022),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9205308/.
56
   Greg B. Merrill et al., Microplastics in Marine Mammal Blubber, Melon, & Other Tissues:
Evidence of Translocation, Environ Pollut. (Oct. 15, 2023),
https://pubmed.ncbi.nlm.nih.gov/37541381/.
57
   Natalia Zolotova et al., Harmful Effects of the Microplastic Pollution on Animal Health: A
Literature Review (June 14, 2022), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9205308/;
Marine Mammals Management Toolkit, Study: Microplastics Found in 2/3 Marine Mammals,
(Aug. 15, 2023), https://marine-mammals.info/study-microplastics-found-in-2-3-marine-
mammals/.
                                                 12
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lacking” and it is “difficult to draw conclusions as to the extent of the problem and its impacts on

populations of ESA-listed species in the Atlantic Ocean.”58 There is also no discussion of the

impacts of blade and turbine failure and how any debris from those components that fall into the

ocean would impact endangered species.

STATUTORY AND REGULATORY BACKGROUND

1.       The Endangered Species Act

         The Endangered Species Act (ESA) requires all federal agencies to “conserve endangered

species and threatened species and [] utilize their authorities in furtherance of the purposes.”59

Congress’s intent in enacting the ESA “was to halt and reverse the trend toward species

extinction, whatever the cost”60—even when doing so is inconvenient or counter to Government

goals.

         The Supreme Court recognized the importance Congress placed on protecting those

plants and animals whose survival is threatened by human activity, noting that the ESA is “the

most comprehensive legislation for the preservation of endangered species ever enacted by any

nation.”61 With that legislation, Congress made a “conscious decision . . . to give endangered

species priority over the ‘primary missions’ of federal agencies.”62 As noted by this Court,

protecting endangered species, such as the North Atlantic Right Whale, is so important that it

takes priority over the primary mission of federal agencies, including BOEM’s mission to

develop an industrial-scale offshore wind energy network.




58
   BOEMCVOW_18220.
59
   Id.
60
   Tennessee Valley Auth. v. Hill, 437 U.S. 153, 184 (1978).
61
   Ctr. for Biological Diversity v. Regan, No. CV 21-119 (RDM), 2024 WL 1602457 (D.D.C.
Apr. 12, 2024) (internal citations omitted).
62
   Id.
                                                 13
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        Section 7 of the ESA requires that BOEM must consult with the National Marine

Fisheries Service, which has primary responsibility for marine species under the ESA, before

taking any action that may jeopardize an endangered species or its habitat:

        Each Federal agency shall, in consultation with and with the assistance of the
        Secretary, ensure that any action authorized, funded or carried out by such agency
        . . . is not likely to jeopardize the continued existence of any endangered or
        threatened species or result in the destruction or adverse modification of habitat of
        such species. . . .63

        At the close of the Section 7 consultation, NMFS must present its findings and

conclusions in a biological opinion,64 which must analyze and determine whether the proposed

action jeopardizes the species: “[T]he Secretary shall provide to the Federal agency and the

applicant, if any, a written statement setting forth the Secretary’s opinion, and a summary of the

information on which the opinion is based, detailing how the agency action affects the species or

its critical habitat.”65

        When preparing a Biological Opinion, NMFS must “use the best scientific and

commercial data available”66 and “[e]valuate the effects of the action and cumulative effects on

the listed species or critical habitat.”67 NMFS must ascertain whether the proposed action, in

conjunction with the environmental baseline and any cumulative effects, is likely to jeopardize

the species’ continued existence or damage their critical habitats.68 If NMFS concludes that the

action is likely to jeopardize a species or result in harm to its habitat, it must propose a

“reasonable and prudent alternative” to avoid those effects.69 NMFS must also prepare an



63
   16 U.S.C. § 1536(a).
64
   16 U.S.C. § 1536(b)(3)(A).
65
   16 U.S.C. § 1536(d).
66
   50 C.F.R. § 402.14(g)(8); see also 16 U.S.C. § 1536(a)(2).
67
   See 16 U.S.C. § 1536(a)(2).
68
   50 C.F.R. § 402.14(g).
69
   16 U.S.C. § 1536(b)(3)(A).
                                                  14
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incidental take statement that addresses whether the proposed action is likely to incidentally

“take” members of a protected species, as defined by the ESA,70 and specify the number of

permissible takes.71

2.     NMFS’ Regulations Regarding Cumulative Effects

       NMFS’ regulations explicitly exclude from its Section 7 analysis the cumulative impacts

of a certain subset of known impacts from other offshore wind projects: “Future Federal actions

that are unrelated to the proposed action are not considered in this section because they require

separate consultation pursuant to section 7 of the ESA.”72

       In the Biological Opinion that NMFS prepared for this Project, NMFS admits that it did

not consider the cumulative effects of the thousands of other planned wind turbines to be

constructed in the Atlantic Ocean:

       We reviewed the list of cumulative impacts identified by BOEM in the [Dominion
       Wind Project Draft EIS] and determined that most (e.g. other future offshore wind
       development activities . . . ) do not meet the ESA definition of cumulative effects
       because we expect that, if any of these activities were proposed in the action area,
       or were proposed elsewhere yet were to have future effects inside the action area,
       they would require at least one Federal authorization or permit, and would therefore
       be subject to ESA section 7 consultation requirements . . . .73

PROCEDURAL BACKGROUND

       Although this ESA claim is brought under the APA, not under the Citizens’ Suit

Provision of the ESA, on November 11, 2023 and March 7, 2024, Plaintiffs, Citizens for a

Constructive Tomorrow et al. (collectively CFACT) sent a 60-Day Notice of Intent to Sue to

federal Defendants NMFS and BOEM, explaining the flaws with NMFS’ Biological Opinion




70
   16 U.S.C. § 1532(19).
71
   50 C.F.R. § 402.14(i).
72
   BOEMCVOW_18299.
73
   See id.
                                                15
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issued for the Dominion Wind Project. On April 16, 2024, CFACT filed its amended complaint

challenging the Biological Opinion under the APA, ESA, and NEPA.

         On April 29, 2024, CFACT moved for an administrative stay or a preliminary injunction

to stop the imminent construction of the Dominion Wind turbines.74 On May 24, 2024, the Court

found that Plaintiff, Craig Rucker, had standing but denied that motion on the merits and issued a

scheduling order for cross-motions for summary judgment.75

SUMMARY OF ARGUMENT

         In March 2021, the administration announced its plan of “bold actions” to catalyze

offshore wind energy development, stating that it was taking “coordinated steps to support rapid

offshore wind deployment.”76 In its zeal to rapidly develop renewable energy, however, the

federal government has lost sight of its statutory obligations to protect and conserve endangered

species—specifically, the North Atlantic Right Whale—that will be directly affected by the

construction of thousands of wind turbines along its migration route up and down the Atlantic

Coast.

         The Supreme Court has held that the federal ESA confirms that Congress viewed the

value of preserving endangered species as “incalculable” and that Congress intended for federal

agencies to “halt and reverse the trend toward species extinction, whatever the cost.”77 Section 7

of the federal ESA imposes an explicit, affirmative duty on all federal agencies to ensure that

their actions are not likely to jeopardize the continued existence of a species or destroy or



74
   Mot. for Stay (Apr. 29, 2024), ECF No. 15.
75
   Op. and Or. Denying Mot. for Stay (May 24, 2024), ECF No. 28.
76
   The White House, Fact Sheet: Biden Administration Jumpstarts Offshore Wind Energy
Projects to Create Jobs (Mar. 29, 2021), https://www.whitehouse.gov/briefing-room/statements-
releases/2021/03/29/fact-sheet-biden-administration-jumpstarts-offshore-wind-energy-projects-
to-create-jobs/.
77
   Tennessee Valley Auth., 437 U.S. at 184.
                                                 16
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adversely modify its critical habitat, using “the best scientific and commercial data available.”78

When BOEM excluded consideration of the jeopardizing effects of all the other offshore wind

projects already in the approval pipeline on the North Atlantic Right Whale, it failed to consider

all available scientific information—and so failed to comply with the ESA. Excluding the

jeopardizing effects of other planned governmental actions—here, approval of 29 other projects

in its “coordinated” plan to construct wind turbine projects up and down the Atlantic Ocean

coastline—violates this statutory requirement.

       The NMFS’ regulatory interpretation of Section 7 erroneously carves out and excludes

from the agency’s Section 7 cumulative analysis most of the government’s announced program

to develop 30 wind turbine projects on grounds that those projects have not yet received final

approval.79 But this regulatory carve-out directly conflicts with the ESA, which commands

NMFS to use the best available science and data to evaluate the impacts of federal actions on an

endangered species. Under Loper Bright Enterprises v. Raimondo,80 the agency’s interpretation

of what the ESA requires is a question of law and is entitled to no deference by this Court:

       [C]ourts, not agencies, will decide “all relevant questions of law” arising on review
       of agency action, § 706 (emphasis added)—even those involving ambiguous
       laws—and set aside any such action inconsistent with the law as they interpret it.
       And it prescribes no deferential standard for courts to employ in answering those
       legal questions.81

       The Ninth Circuit invalidated a biological opinion for failure to consider cumulative

effects in Pacific Coast Federation of Fishermen’s Ass’n v. National Marine Fisheries Service.82




78
   See 16 U.S.C. § 1536; see also 50 C.F.R. § 402.14(g)(8).
79
   50 C.F.R. § 402.02 (defining “cumulative effects”).
80
   Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244, 2261 (2024).
81
   Id. at 2261.
82
   Pac. Coast Fed’n of Fishermen’s Ass’n, Inc. v. Nat’l Marine Fisheries Serv., 265 F.3d 1028 (9th
Cir. 2001).
                                                 17
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There plaintiffs challenged the adequacy of four biological opinions issued by NMFS, which

concluded that 23 timber sales in the Umpqua River Basin in Oregon were not likely to

jeopardize the continued existence of two species of cutthroat trout and coho salmon. The Ninth

Circuit held that the biological opinions violated the “arbitrary and capricious” and “clear error

in judgment” standard of the Administrative Procedure Act, 5 U.S.C. § 706(2)(A), because they

failed to consider the cumulative effect of the proposed timber sales.

        Instructive here, too, are several other decisions issued by the Ninth Circuit, including

one that invalidated a Biological Opinion for failure to consider all known effects of a future oil

and gas leasing project, provide guidance for this Court in evaluating cumulative impacts under

the ESA: “With the information available, the [federal agency] could also have identified

potential conflicts between the protected species and post-leasing activities. . . . [I]t [is] critical

that ESA review occur early in the process to avoid piecemeal chipping away of habitat.”83

        NMFS admits that its cumulative impacts analysis for its Biological Opinion was

truncated and limited to impacts of the Dominion Wind Project only:

        “Cumulative effects” are those effects of future state or private activities, not
        involving Federal activities, that are reasonably certain to occur within the action
        area of the Federal action subject to consultation (50 C.F.R. § 402.02). Future
        Federal actions that are unrelated to the proposed action are not considered in this
        section because they require separate consultation pursuant to section 7 of the ESA.
        It is important to note that, while there may be some overlap, the ESA definition of
        cumulative effects is not equivalent to the definition of “cumulative impacts” as
        described in the CVOW-C DEIS. Under NEPA, “cumulative effects…are the
        impact on the environment resulting from the incremental impact of the action
        when added to other past, present, and reasonably foreseeable future actions.”
        While the effects of past and ongoing Federal projects for which consultation has
        been completed are evaluated in both the NEPA and ESA processes (Section 6.0
        Environmental Baseline), reasonably foreseeable future actions by Federal


83
  Conner v. Burford, 848 F.2d 1441, 1454 (9th Cir. 1988); see also Pac. Coast Fed’n of
Fishermen’s Ass’n, Inc. v. Nat’l Marine Fisheries Serv., 265 F.3d 1028 (9th Cir. 2001) (holding
that NMFS biological opinion is arbitrary and capricious if it disregards the effects of individual
projects as “localized” when they can have significant aggregate effects).
                                                   18
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        agencies must be considered (see 40 C.F.R. § 1508.7) in the NEPA process but not
        the ESA section 7 process.84

        BOEM and NMFS also failed to consider the impacts of blade or turbine failures from

this and other planned projects on the Right Whale.85 The agencies knew when they approved the

Dominion Wind Project that several blades in the Project and the 29 other offshore wind projects

slated for approval will likely fail over the lifetime of the Project.86 Yet this available

information was ignored by both agencies in their environmental review of this Project. Both

agencies had a statutory duty under the ESA to evaluate the impacts of the release of these

microplastics and toxins on all endangered species in the area. Their failure to do so violated the

ESA and was arbitrary and capricious and a clear error of judgment in violation of the APA.

        These statutory violations do not tell the whole story of the agencies’ failure to meet the

environmental requirements for this Project. This year alone, two Right Whales have died. Most

recently, on March 30, 2024, a deceased North Atlantic Right Whale was found floating, roughly

50 miles off the Virginia shore.87 That these whale deaths may be attributable to non-Project

actions is beside the point. BOEM found no jeopardy in its Final EIS for this Project based on its

scientific determination that there would be only 0.7 Right Whale deaths per year.88 But because

there have already been two deaths this year, under BOEM’s own jeopardy analysis, BOEM’s




84
   BOEMCVOW_18299.
85
   See BOEMCVOW_18085.
86
   See Leon Mishnaevsky, Jr., Root Causes and Mechanisms of Failure of Wind Turbine Blades:
Overview, National Library of Medicine (Apr. 19, 2022) at 1,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9101399/pdf/materials-15-02959.pdf.
87
   NOAA Fisheries, North Atlantic Right Whale Updates,
https://www.fisheries.noaa.gov/national/endangered-species-conservation/north-atlantic-right-
whale-updates (last visited Sept. 26, 2024).
88
   See BOEMCVOW_417 (noting that the potential biological removal rate for the North
Atlantic Right Whale is 0.7 individuals per year).
                                                  19
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no-jeopardy analysis is invalid. To meet BOEM’s standard, there cannot be another Right Whale

death from any cause until 2028.

       Plaintiffs have standing under NEPA and the ESA to pursue their claims.89 This Court

has found that at least one Plaintiff, Craig Rucker, has standing under the ESA and APA,90 and,

based on the same facts and injuries, this Court should find that Plaintiffs have standing.

Plaintiffs, through their whale watching activities and aesthetic interest in the North Atlantic

Right Whale, have shown cognizable injuries in fact.91 The Plaintiffs have also shown causation,

as this Court has found because “Mr. Rucker contends that NMFS’s failure to consider

cumulative effects resulted in a deficient Biological Opinion . . . leading to approval of a project

that will hinder his ability to observe the Right Whale.”92 And Plaintiffs injuries are redressable

because a favorable decision could lead to the change or relocation of the turbines, more

mitigation measures, a supplemental EIS, and a supplemental Biological Opinion with an

updated Incidental Take Statement.




89
   See Mayo v. Jarvis, 177 F. Supp. 3d 91, 129–30 (D.D.C. 2016); see also Bennett v. Spear, 520
U.S. 154, 176–77 (1997).
90
   Memo. Op. and Order Denying Mot. for Stay (May 24, 2024), ECF No. 28 at 8.
91
   See, e.g., Japan Whaling Ass’n v. Am. Cetacean Soc., 478 U.S. 221, 230 n.4 (1986) (holding
that plaintiffs established injury-in-fact sufficient for standing by alleging that the challenged
agency actions would impair plaintiffs’ whale watching); Hill v. Coggins, 867 F.3d 499, 505 (4th
Cir. 2017) (holding that an “aesthetic interest in the observation of animals [is] a legally
protected interest).
92
   Memo. Op. and Order Denying Mot. for Stay (May 24, 2024), ECF No. 28 at 7.
                                                 20
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ARGUMENT

1.     Standard of Review

       The party moving for summary judgment bears the initial burden of an entitlement to

judgment.93 Once that burden is met, the burden shifts to the non-moving party to identify

specific record evidence and explain how it defeats the moving party’s motion.94

       Agency decisions under the ESA are governed by the APA, which requires that an

agency action be upheld unless it is found to be “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.”95 This standard is designed to “ensure that the agency

considered all of the relevant factors and that its decision contained no ‘clear error of

judgment.’”96 Agency action should be overturned only when the agency has

       relied on factors which Congress has not intended it to consider, entirely failed to
       consider an important aspect of the problem, offered an explanation for its decision
       that runs counter to the evidence before the agency, or is so implausible that it could
       not be ascribed to a difference in view or the product of agency expertise.97

A biological opinion may also be invalid if it fails to use the best available scientific information

as required by 16 U.S.C. § 1536(a)(2).98

       Because “‘the interpretation of the meaning of statutes” is “exclusively a judicial

function,”99 courts must overturn agency action where “the agency has misconceived the law.”100




93
   See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
94
   See Diaz v. Kaplan Higher Educ., L.L.C., 820 F.3d 172, 176 (5th Cir. 2016).
95
   5 U.S.C. § 706(2)(A).
96
   State of Ariz. v. Thomas, 824 F.2d 745, 748 (9th Cir. 1987).
97
   Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43
(1983).
98
   See Greenpeace Action v. Franklin, 14 F.3d 1324, 1336 (9th Cir. 1992).
99
   Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244, 2258 (2024) (quoting United States v.
Am. Trucking Ass’ns, 310 U.S. 534, 544 (1940)).
100
    Maine Lobstermen’s Ass’n v. Nat’l Marine Fisheries Serv., 70 F.4th 582, 597 (D.C. Cir.
2023) (internal citations and quotation omitted).
                                                 21
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In determining the proper interpretation of the ESA, the court—not marine biologists—must

determine the validity of the Biological Opinion by first ascertaining the proper meaning of the

statutory language.101

2.     NMFS Violated the ESA by Excluding from Its Biological Opinion Known and
       Available Information Regarding the Cumulative Effects of Other Projects on the
       Highly Endangered Right Whale

       The ESA required NMFS to determine if BOEM’s approval of the Dominion Wind

Project will jeopardize the Right Whale and, if so, to make recommendations in its Biological

Opinion regarding how to avoid jeopardizing the whale species using the “best scientific and

commercial data available.”102 But instead of analyzing all of the best information available,

NMFS intentionally chose to exclude from its analysis the effects that the 29 other planned

offshore wind projects along the Right Whale’s annual migration path will have on the remaining

members of this nearly extinct whale species, directly contrary to the ESA.103 NMFS’ Biological

Opinion thus underestimates the jeopardy to the species caused by offshore wind development.

NMFS’ failure to consider this vitally important part of the problem makes the biological opinion

arbitrary and capricious—just like NMFS’ failure to consider the cumulative effects of multiple

timber sales was:

       [T]he record contains no proof that the cumulative effect of site specific
       degradation was considered in reaching a no jeopardy opinion at the regional water-
       shed level. . . . [The agency’s] disregard of projects with a relatively small area of
       impact but that carried a high risk of degradation when multiplied by many projects
       and continued over a long time period is the major flaw in NMFS study. . . . If in
       fact [the NMFS] disregards [the effects of individual projects] as “localized” when
       they can have significant aggregate effects, it acts arbitrarily and capriciously.104




101
    Id.
102
    16 U.S.C. § 1533.
103
    Ctr. for Biological Diversity, 2024 WL 1602457 (D.D.C. Apr. 12, 2024).
104
    Pac. Coast Fed’n of Fishermen’s Ass’n, Inc., 265 F.3d at 1036.
                                                22
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       In this case, NMFS ignored and did not analyze how other offshore wind projects now on

the drawing board along the North Atlantic Right Whale’s annual migration route will affect the

species, taking the position that “other future offshore wind energy development activities,”105

including the construction of thousands of giant turbines on millions of acres of ocean floor,

could be ignored because “they would require at least one Federal authorization or permit and

would, therefore require their own ESA section 7 consultation requirements.”106 But nothing in

the ESA authorizes federal agencies to ignore known threats to endangered species just because

the activity will require its own biological opinion in the future.107

       The agencies knew that the Dominion Wind Project was only one small part of the much

larger, coordinated offshore wind program swiftly gaining government approval, as the

Biological Opinion reveals: “We presented information on the South Fork, Vineyard Wind,

Ocean Wind 1, Revolution Wind, and Empire Wind projects in the Environmental Baseline of

this Opinion for this reason.”108

       According to NMFS, it was not required to consider the cumulative impacts of all known

and available information because, according to NMFS, these effects

       do not meet the ESA definition of cumulative effects because we expect that, if any
       of these activities were proposed in the action area, or were proposed elsewhere yet
       were to have future effects inside the action area, they would require at least one
       Federal authorization or permit and would, therefore, be subject to ESA section 7
       consultation requirements.109




105
    BOEMCVOW_18299.
106
    Id.
107
    See N. Slope Borough v. Andrus, 642 F.2d 589 (D.C. Cir. 1980) (“action” must be construed
broadly).
108
    BOEMCVOW_18299.
109
    Id.
                                                  23
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       But for the Right Whale, the threat of extinction exists now, not sometime in the

future. On similar grounds, the District Court of Maryland Recently invalidated the

Biological Opinion for an offshore oil well regarding another species of endangered whale

because NMFS’ “unexplained failure to account for multiple effects of the action that the

BiOp itself identifies as threats to the survival and recovery of the species, individually and

in combination, renders the [reasonable and prudent alternative] invalid.”110

       Here, the North Atlantic Right Whale teeters on the brink of extinction. A report

jointly prepared by BOEM and NMFS warns of the precarious status of the Right Whale, and

that losing one individual may doom the species:

       Due to the declining status of [North Atlantic Right Whales], the resilience of
       this population to stressors affecting their distribution, abundance, and
       reproductive potential is low. The species faces a high risk of extinction, and
       the population size is small enough that the death of even very few individuals
       can have a measurable effect on its population status, trend, and dynamics.
       Furthermore, the loss of even one individual a year . . . may reduce the likelihood
       of species recovery and of their ability to achieve optimum sustainable
       population.111

       Even though that same report acknowledged that the North Atlantic Right Whale’s

“range overlaps with the area proposed for [all east coast offshore wind] development[,]”112

when it came time to publish the Biological Opinion, NMFS ignored its previous analysis in

determining the impacts on the North Atlantic Right Whale.




110
    Sierra Club v. National Marine Fisheries Service, 2024 WL 3860211, at *28 (D. Md. Aug. 19,
2024).
111
    See Strategy on the North Atlantic Right Whale supra note 4 at 8.
112
    Id.
                                               24
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       A.      NMFS Violated Section 7 of the Endangered Species Act by Failing to
               Ensure that the Dominion Wind Project Will Not Likely Jeopardize the
               Continued Existence of the Critically Endangered North Atlantic Right
               Whale

       The Government’s Atlantic wind energy corridor is developing at a blistering pace and

will be situated directly in or near the migration path of the North Atlantic Right Whale. This

means that each migrating North Atlantic Right Whale must navigate through all 30 offshore

wind projects—and traverse thousands of massive wind turbines—to maintain reproductive

integrity and survive as a species.

       The ESA requires federal agencies to ensure “‘that any action authorized, funded, or

carried out by such agency . . . is not likely to jeopardize the continued existence of any

endangered species or threatened species or result in the destruction or adverse modification of

habitat.’”113 Failing to do so shirks its duties under the ESA, which commands “all federal

agencies ‘to [e]nsure that actions authorized, funded, or carried out by them do not jeopardize the

continued existence’ of an endangered species or ‘result in the destruction or modification of

habitat of such species . . . .’ This language admits of no exception.”114

       The ESA required NMFS to issue a Biological Opinion analyzing whether the Dominion

Wind Project was likely to jeopardize the existence of the critically endangered North Atlantic

Right Whale, using the “best scientific and commercial data available.”115 But instead of

analyzing the best information available, NMFS intentionally excluded from its analysis the

effects that numerous other offshore wind projects along the Right Whale’s annual migration

path will have on the remaining 338 members of this nearly extinct whale species:



113
    Ctr. for Biological Diversity v. Env’t Prot. Agency, 56 F.4th 55, 62 (D.C. Cir. 2022) (quoting
16 U.S.C. § 1536(a)(2)).
114
    Tennessee Valley Auth. v. Hill, 437 U.S. 153, 173 (1978) (quoting 16 U.S.C. § 1536).
115
    50 C.F.R. § 402.14(g)(8); see also 16 U.S.C. § 1536(a)(2).
                                                 25
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           We reviewed the list of cumulative impacts identified by BOEM in the CVOW-C
           DEIS and determined that most (e.g., other future offshore wind development
           activities . . . ) do not meet the ESA definition of cumulative effects because we
           expect that, if any of these activities were proposed in the action area, or proposed
           elsewhere yet were to have future effects inside the action area, they would require
           at least one Federal authorization or permit and would, therefore, be subject to ESA
           section 7 consultation requirements . . . .116

           As a result, NMFS issued an incomplete and invalid Biological Opinion that excluded

crucial information from its cumulative effects analysis, and BOEM authorized the Project based

on that incomplete Biological Opinion.

           B.     NMFS and BOEM Had Information Available That Showed That When
                  Aggregated, the Effects of all 30 Projects Would Affect the Right Whale’s
                  Likelihood of Survival

           In October 2022, BOEM and NMFS issued a draft document entitled the North Atlantic

Right Whale and Offshore Wind Strategy, in which the agencies admit that, when viewed in its

entirety, BOEM’s Atlantic Offshore Wind Turbine program has the potential to harm North

Atlantic Right Whale and cause population-scale impacts to the species. Key statements about

the scope of BOEM’s offshore wind program from the October 2022 strategy include:

      •    “As of September 2022, there were 27 renewable energy lease areas in the Atlantic Outer
           Continental Shelf (OCS) and there are 42 megawatts of installed OSW capacity.”117

      •    “Additional lease sales are expected to be held in the Gulf of Maine and the Central
           Atlantic. In total, the area in existing leases and being considered for leasing in planning
           areas in the Atlantic OCS covers 22.237 million acres (about 8% of the Atlantic OCS).
           The OSW infrastructure currently proposed for installation by 2030 would be located on
           about 2.349 million acres, use fixed turbine technologies, and include 3,441 turbines and
           foundations and 9,874 miles of export and inter-array submarine cables.”118




116
    BOEMCVOW_18299.
117
    National Marine Fisheries Service and Bureau of Ocean Energy Management, Draft North
Atlantic Right Whale and Offshore Wind Strategy (Oct. 2022) at 3,
https://www.boem.gov/sites/default/files/documents/environment/BOEM_NMFS_DRAFT_NAR
W_OSW_Strategy.pdf.
118
    Id.
                                                    26
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       In January 2024, BOEM and NMFS published the final Strategy, which identifies “30

renewable energy lease areas in the Atlantic Outer Continental Shelf”119 and notes that the North

Atlantic Right Whale has a “range [that] overlaps with the area proposed for [offshore wind]

development. . . .”120 The agencies acknowledge that “[t]he activities associated with [offshore

wind] development would introduce or further contribute to existing stressors in the environment

that affect [North Atlantic Right Whales].”121 These stressors include “exposure to noise and/or

pressure (particularly from construction activities),”122 resulting in “hearing impairment,

masking of [North Atlantic Right Whale] vocal communication, physiological impacts (e.g.,

stress), and/or behavioral disturbance, as well as mortality and injury. . . .”123

       The Strategy also notes that the Right Whale faces a “high risk of extinction” and that its

population is small enough that “the loss of even one individual a year” reduces the likelihood of

recovery and the species’ achieving an optimum sustainable population.124

       And, unlike NMFS’ Biological Opinion for the Project, in the Strategy NMFS concedes

that the negative impacts of the planned, multiple projects will be compounded:

       Effects to [North Atlantic Right Whales] could result from stressors generated from
       a single project; there is potential for these effects to be compounded by exposure
       to multiple projects. [North Atlantic Right Whale] migrating along the U.S. Atlantic
       Coast have the potential to travel near or through many currently proposed OSW
       developments along the Atlantic Coast.125




119
    See Strategy on the North Atlantic Right Whale supra note 4 at 5.
120
    Id.
121
    Id. at 12.
122
    Id.
123
    Id.
124
    Id. at 6-7.
125
    Id. at 13.
                                                  27
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           By ignoring the cumulative effects of offshore wind projects along the East Coast that are

now awaiting final approval, NMFS puts the species at risk. As NMFS biologist, Dr. Sean

Hayes, wrote in a May 2022 letter to BOEM:

      •    “Right whales are one of the most endangered marine mammals with fewer than 350
           animals remaining in the population (Pettis et al. 2022), down from a high of 478 in 2011
           and over 400 as recently as 2017 (Hayes et al. 2021).”126

      •    “Additional noise vessel traffic, and habitat modifications due to offshore wind
           development will likely cause added stress that could result in additional population
           consequences to a species that is already experiencing rapid decline (30% in the last 10
           years).”127

      •    “The presence of structures such as wind turbines are likely to result in both local and
           broader oceanographic effects, and may disrupt the dense aggregations and distribution of
           zooplankton prey through altering the strength of tidal currents and associated fronts,
           changes in stratification, primary production, the degree of mixing, and stratification in
           the water column (Chen et al. 2021, Johnson et al 2021, Christiansen et al 2022, Dorrell
           et al 2022).”128

      •    “Maintenance and operational impacts would be for a duration of thirty or more years.”129

      •    “As offshore wind energy projects in southern New England progress in development, in
           particular around Nantucket Shoals, it is critical to assess the range of impacts/threats and
           stressors to protected species and the degree to which they can be mitigated. This needs
           to include taking into consideration the chronic state of right whales and the importance
           of productive foraging habitats to these species. These impacts should be thoroughly
           analyzed in any EIS or other environmental reviews associated with offshore wind
           development.”130




126
    Ex. 1, Letter from Dr. Sean A. Hayes to Brian R. Hooker, Lead Biologist at the Bureau of
Ocean Energy Management (May 13, 2022).
127
    Id. at 1
128
    Id. at 2.
129
    Id.
130
    Id.
                                                    28
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        C.     NMFS’ Regulatory Interpretation of Its Duties Under Section 7 Conflicts
               with the Plain Language of the ESA and the Court Should Not Defer to the
               Agency’s Interpretation

       NMFS has erroneously adopted a regulatory interpretation of Section 7 that allows it to

carve out or exclude from its Section 7 cumulative analysis a subset of the government’s

coordinated plan to develop wind turbine projects solely because those projects have not yet

undergone Section 7 consultation.131

       But this Court owes no deference to that erroneous interpretation of the ESA, particularly

where, as here, that interpretation runs counter to the mandatory requirements of the ESA. As the

Supreme Court recently held in Loper Bright,132 Courts—not NMFS officials or marine

biologists—must determine the validity of the agency’s Biological Opinion within the plain

language of the ESA and not the agency’s own regulations:

       [C]ourts, not agencies, will decide “all relevant questions of law” arising on review
       of agency action, § 706 (emphasis added)—even those involving ambiguous
       laws—and set aside any such action inconsistent with the law as they interpret it.
       And it prescribes no deferential standard for courts to employ in answering those
       legal questions.133

        The D.C. Circuit also recently ruled that the Courts—not NMFS and its marine

biologists—must determine the proper meaning of the ESA in cases involving the proper

interpretation of the statute.134 In Wild Fish Conservancy v. Salazar,135 the Ninth Circuit adopted

the same principle—that legal or procedural violations of ESA do not require subject-matter




131
    50 C.F.R. § 402.02.
132
    Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244 (2024).
133
    Id. at 2261.
134
    Maine Lobstermen’s Ass’n v. Nat’l Marine Fisheries Serv., 70 F.4th 582 (D.C. Cir. 2023).
135
    Wild Fish Conservancy v. Salazar, 628 F.3d 513 (9th Cir. 2010).
                                                29
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expertise: “Where the opinion’s flaws are ‘legal in nature,’ however, ‘[d]iscerning them requires

no technical or scientific expertise[.]’”136

        In another Ninth Circuit case, Conner v. Burford,137 the Ninth Circuit invalidated a

Biological Opinion for a federal oil and gas lease because it failed to consider the environmental

impacts of planned oil-and-gas-well locations—even though each well location would later be

subject to a post-lease Section 7 consultation and its own biological opinion, stating: “Although

we recognize that the precise location and extent of future oil and gas activities were unknown at

the time, extensive information about the behavior and habitat of the species in the areas covered

by the leases was available.”138

        In that case, the court explained that

        incomplete information about post-leasing activities does not excuse the failure to
        comply with the statutory requirement of a comprehensive biological opinion using
        the best information available. 16 U.S.C. § 1536(a)(2). With the post-leasing and
        biological information that was available, the FWS could have determined whether
        post-leasing activities in particular areas were fundamentally incompatible with the
        continued existence of the species.139

        The Conner court flatly rejected the government’s rationale—relied on in this Biological

Opinion—that cumulative effects of future projects could be ignored:

        With the information available, the FWS could also have identified potential
        conflicts between the protected species and post-leasing activities due to the
        cumulative impact of oil and gas activities. For example, species like the grizzly
        and the gray wolf require large home ranges making it critical that ESA review
        occur early in the process to avoid piecemeal chipping away of habitat.140



136
    Id. at 532 (quoting Defs. of Wildlife v. U.S. Env’t Prot. Agency, 420 F.3d 946, 976 (9th Cir.
2005)).
137
    Conner v. Burford, 848 F.2d 1441 (9th Cir. 1988).
138
    Id. at 1454.
139
    Id.; see also Nat. Res. Def. Council v. Haaland, 102 F.4th 1045, 1069–70 (9th Cir. 2024)
(holding that agency must make a meaningful determination of a project’s impacts by looking
beyond the immediate project).
140
    Id.
                                                 30
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       As the Ninth Circuit explained in another case, Wild Fish Conservancy v. Salazar,141

       Conner rejected biological opinions addressing only the first, preliminary stage in
       a multistage project. The case involved the federal government’s issuance of more
       than 700 leases for oil and gas exploration in two national forests. Before the leases
       were issued, the Service prepared a biological opinion for each forest. Concluding
       that there was “insufficient information available to render a comprehensive
       biological opinion beyond the initial lease phase,” [] the Service considered the
       effects only of the leases themselves, not of the oil and gas activity to follow on the
       leased land. [] Instead of comprehensive biological opinions at the leasing stage,
       the Service included in the leases stipulations requiring additional environmental
       consultation prior to any “surface-disturbing activities.” []

                                               ***

       We held that the limited scope of the biological opinions violated the ESA. The
       Service’s obligation, we said, was “to analyze the effect of the entire agency
       action.” [] Because “[p]umping oil and not leasing tracts is the aim of congressional
       mineral leasing policy,” the agency action necessarily encompassed “not only
       leasing but leasing and all post-leasing activities through production and
       abandonment.” [] The Service’s proposal to conduct “incremental-step
       consultation” was an inadequate alternative. That approach might result, for
       example, in the “piecemeal chipping away of habitat” for endangered species. []
       The Service was thus “required to prepare, at the leasing stage, a comprehensive
       biological opinion” considering “all phases of the agency action.” [] Because it had
       not done so, the biological opinions were invalid.142

       In Thomas v. Peterson,143 the Ninth Circuit also explained that the substantive

requirements of the ESA require more strict enforcement of its procedural requirements

compared to NEPA:

       We acknowledge that the ESA’s substantive provisions distinguish it from NEPA,
       but the distinction acts the other way. If anything, the strict substantive provisions
       of the ESA justify more stringent enforcement of its procedural requirements,
       because the procedural requirements are designed to ensure compliance with the
       substantive provisions. The ESA’s procedural requirements call for a systematic
       determination of the effects of a federal project on endangered species. If a project
       is allowed to proceed without substantial compliance with those procedural




141
    Wild Fish Conservancy v. Salazar, 628 F.3d 513, 521–22 (9th Cir. 2010).
142
    Id.
143
    Thomas v. Peterson, 753 F.2d 754 (9th Cir. 1985).
                                                 31
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        requirements, there can be no assurance that a violation of the ESA’s substantive
        provisions will not result. The latter, of course, is impermissible.144

3.      Because BOEM Had Full Knowledge that the Cumulative Impacts of the Federal
        Offshore Wind Program Threaten the Viability of the Highly Endangered North
        Atlantic Right Whale, Its Approval of the Project Was Arbitrary, Capricious, an
        Abuse of Discretion, and Not In Accordance with the Requirements of the
        Endangered Species Act

        BOEM, like NMFS, is required under the ESA to ensure “‘that any action authorized,

funded, or carried out by [BOEM] . . . is not likely to jeopardize the continued existence of any

endangered species or threatened species or result in the destruction or adverse modification of

habitat.’”145 Although BOEM may rely on the analysis of a valid Biological Opinion issued by

NMFS to satisfy its duties under the ESA, if that analysis fails to satisfy the requirements of the

ESA, BOEM is not excused from ESA compliance. Yet, BOEM approved the project without a

complete analysis of the cumulative effects on the North Atlantic Right Whale in violation of the

ESA.

        As the final decisionmaker for all 30 Atlantic Coast offshore wind projects,146 BOEM

bears the ultimate statutory responsibility to ensure that its programs and projects do not push the

Right Whale over the brink of extinction. Yet that is exactly what it has done—as BOEM’s own

Environmental Impact Statement confirms:

        Based on the [North Atlantic Right Whale’s] current status, impacts on NARWs
        resulting from all [Impact Producing Factors] combined from ongoing and planned
        actions, including Alternatives B and C, are expected to be major because serious
        injury or loss of an individual would result in population-level impacts that threaten
        the viability of the species.147




144
    Id. at 764 (citing Tennessee Valley Authority, 437 U.S. 153).
145
    Ctr. for Biological Diversity v. Env’t Prot. Agency, 56 F.4th 55, 62 (D.C. Cir. 2022) (quoting
16 U.S.C. § 1536(a)(2)).
146
    See generally 30 C.F.R. § 585.
147
    BOEMCVOW_463 (emphasis in original).
                                                 32
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       BOEM admits that the ocean area where the Dominion Wind Project will be built is

considered a biologically important area for the North Atlantic Right Whale:

       [North Atlantic Right Whales] have the potential to occur in the Project area year-
       round. The offshore waters of Virginia, including waters within the Project area,
       are used as a migration corridor for [the North Atlantic Right Whale] and are
       considered a Biologically Important Area (BIA2) for migration between their
       Northwest Atlantic feeding grounds and their calving grounds off the Southeast
       United States (LaBrecque et al. 2015).148

       Separate from and in addition to its duty to consult with NMFS in approving the Project,

BOEM had the statutory duty under the ESA “to decide whether it has taken all possible action

to [e]nsure that [the Dominion Wind Project] is not likely to jeopardize the continued existence

of the [Right Whale].”149 Under the ESA, BOEM (like all other federal agencies) was required to

ensure that its actions were “not likely to jeopardize the continued existence of any [listed

species].”150 Actions governed by this ESA requirement include “the granting of licenses,

contracts, leases, easements, rights-of-way, permits . . . or actions directly or indirectly causing

modifications to the land, water, or air”151 or “result in the destruction or adverse modification of

[critical habitat].”152 BOEM’s Record of Decision approving the Dominion Wind Project is an

action governed by this ESA provision. So, regardless of the sufficiency of the Biological

Opinion prepared by NMFS, BOEM’s approval of the Project is arbitrary, capricious, and

contrary to law because, as BOEM itself states, the cumulative effect of the 30 Atlantic Coast




148
    BOEMCVOW_417.
149
    Stop H-3 Ass’n v. Dole, 740 F.2d 1442, 1460 (9th Cir. 1984) (citing Nat’l Wildlife Fed’n v.
Coleman, 529 F.2d 359, 371 (5th Cir. 1976)).
150
    16 U.S.C. § 1536(a)(2); see also 50 C.F.R. § 402.02.
151
    50 C.F.R. § 402.02.
152
    16 U.S.C. § 1536(a)(2).
                                                  33
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offshore wind projects it has approved or is likely to approve in the future does threaten at least

one Right Whale death a year—exceeding the .7 per year figure that jeopardizes the species.153

       And, as BOEM itself concluded in a July 2023 study evaluating the effects of offshore-

wind development and the North Atlantic Right Whale, that an agency’s mitigation plan includes

actions to protect the species, does not mean that the actions will necessarily be effective:

       7.2     Effectiveness of Mitigation Measures

       Broadly speaking, once implemented, conservation measures are not often
       evaluated for their effectiveness in achieving intended goals (e.g., Selig and Bruno
       2010). Likewise, scant information exists on attempts to assess the effectiveness of
       measures designed and implemented to reduce the impacts of OSW activities on
       marine mammals.
                                            ***
       Given the species’ vulnerable status, it is critical that action be taken from the start
       to prevent noise impacts which could further stress the species and impair its
       recovery.154

       Here, NMFS issued an Incidental Take Statement that allows for the “take” of .7 Right

Whales per year.155 Further, NMFS concluded that even one death of a Right Whale would be

catastrophic on the survivability of the species.156 Because neither NMFS nor BOEM considered

the effectiveness of their proposed mitigation measures on protecting the Right Whale, much less

considered the impact of turbine failures on the Right Whale, their approvals of the Project with

incomplete and inadequate environmental analysis was arbitrary and capricious and contrary to

the Endangered Species Act. As a federal district court judge in Maryland recently explained:

“‘The amount of take set by the ITS creates a trigger that, when reached, results in an




153
    See BOEMCVOW_417 (noting that the potential biological removal rate for the North
Atlantic Right Whale is 0.7 individuals per year).
154
    Bureau of Ocean Energy Management, Offshore Wind Energy Development and North Atlantic
Right Whales (July 2023), https://espis.boem.gov/Final%20Reports/BOEM_2023-051.pdf.
155
    BOEMCVOW_417.
156
    See Strategy on the North Atlantic Right Whale supra note 4 at 7.
                                                 34
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unacceptable level of incidental take.’ . . . When that trigger is pulled, the agencies must

reinitiate consultation immediately.”157

        Unlike the ESA regulations that NMFS relied on to ignore the cumulative effects of all

the other planned offshore wind projects along the Right Whale’s Atlantic coast migration route,

NEPA regulations required BOEM to analyze those cumulative impacts. In its Environmental

Impact Statement, BOEM concluded that “[o]ver 3,287 structures . . . could be constructed in the

geographic analysis area . . . for planned offshore wind projects[,]”158 and that “[c]onsidering all

of the [Impact Producing Factors] together, BOEM anticipates that the impacts from ongoing and

planned actions, including Alternatives B and C, would result in overall major impacts on the

[North Atlantic Right Whale].”159 BOEM explained that it categorized those impacts as major

“because serious injury or loss of an individual would result in population-level impacts that

threaten the viability of the species.”160

        But the ESA forbids an agency—including BOEM—from authorizing actions that, in

BOEM’s own words, “threaten the viability of the species.”161 Because BOEM’s Record of

Decision does exactly that—threatens the viability of the species—its Record of Decision

violates the ESA—and should be set aside under the APA.

4.      Plaintiffs Have Standing to Bring Their Claims

        In its May 24, 2024 Order the Court concluded that “Plaintiffs have shown a substantial

likelihood that at least one plaintiff, Mr. Rucker, has standing to seek a preliminary



157
    Sierra Club v. National Marine Fisheries Service, 2024 WL 3860211, at *33 (D. Md. Aug. 19,
2024) (quoting Sierra Club v. United States Dep’t of the Interior, 899 F.3d 260, 269 (4th Cir.
2018)).
158
    BOEMCVOW_438.
159
    BOEMCVOW_463.
160
    Id.
161
    Id.
                                                  35
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injunction[.]”162 And, because “[t]he court ‘need only find one party with standing’ in order to

proceed,”163 Rucker’s standing provided the Court the necessary jurisdiction to decide CFACT’s

Motion for Preliminary Injunction or Stay (which the Court denied on the merits).164 Using the

same facts and analysis, the Court should reach the same conclusion at this summary judgment

stage— that Rucker has standing to bring this motion, which provides the Court jurisdiction to

decide the case.

        While the standard at this stage has risen from “substantial likelihood” (the preliminary

injunction standard) to the summary judgment standard of “no triable issue of fact,”165 the same

undisputed facts presented in Rucker’s original declaration166 also support his standing under the

Rule 56 summary judgment standard. CFACT further presents the Court with additional

evidence of the standing of Rucker and the other Plaintiffs to leave no doubt that the Court has

jurisdiction to decide this case.

        A.      Plaintiffs Have Injury-in-Fact

             1. Craig Rucker, Founder and President of CFACT

        Plaintiff, Craig Rucker, is the founder and President of CFACT and has spent

considerable time in his career “working to protect the most environmentally sensitive and

endangered species on the planet, including the North Atlantic Right Whale.”167 Rucker has

authored numerous reports on the threat of offshore wind to the continued viability of the North

Atlantic Right Whale. He has also made several whale-watching trips in the past, where he has



162
    Memo. Op. and Order Denying Mot. for Stay (May 24, 2024), ECF No. 28 at 8.
163
    Id. at 6 (quoting Americans for Safe Access v. Drug Enf’t Admin., 706 F.3d 438, 443 (D.C.
Cir. 2013)).
164
    See id.
165
    Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992).
166
    Decl. of C. Rucker (Apr. 29, 2024), ECF No. 15-2.
167
    Ex. 2, Decl. of C. Rucker and CFACT ⁋ 3.
                                                 36
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had the opportunity to observe Right Whales firsthand. Rucker has also booked a trip to observe

Right Whales directly within the project area, which is scheduled for this December.168 Rucker is

deeply concerned that the Dominion Wind project, as well as the scores of other offshore

projects planned along the East Coast, poses a substantial threat to the continued survival of the

species, which could “forever foreclos[e his] ability to enjoy seeing these whales.”169

      As the Court has found, Rucker has shown injury-in-fact because he “has an abiding interest

in the Right Whale, he has concrete plans to observe the Right Whale in the near future, and he

believes that the Project will interfere with these plans.”170 And “the desire to use or observe an

animal species, even for purely esthetic purposes, is undeniably a cognizable interest for purpose

of standing.”171

         For similar reasons of aesthetics and animal protection, CFACT, the nonprofit

organization Rucker heads, also has shown injury-in-fact. Specifically, Rucker, in his declaration,

has amply shown that CFACT has an aesthetic interest in observing and studying the North

Atlantic Right Whale and that protecting the critically endangered Right Whale is germane to

CFACT’s mission and furthers their active stewardship program that seeks to protect animals,

empower entrepreneurs, and promote a healthy environment.172

         “CFACT is a sponsor of the ‘Save Right Whales Coalition’ which has submitted

comments to BOEM and NMFS regarding: (i) BOEM’s Draft Environmental Impact Statement

(DEIS) for the [Dominion Wind] project, (ii) Dominion Energy’s application to NMFS for an

Incidental Harassment Authorization, (iii) the Draft BOEM and NOAA Fisheries North Atlantic



168
    Id. ¶ 4–5.
169
    Id. ⁋ 6.
170
    Memo. Op. and Order Denying Mot. for Stay (May 24, 2024), ECF No. 28 at 6.
171
    Lujan, 504 U.S. at 562–63.
172
    See Ex. 2 ¶ 2–3.
                                                 37
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Right Whale and Offshore Wind Strategy, and (iv) the Biological Opinion issued by NMFS

authorizing Dominion to take federally listed species, including the North Atlantic Right Whale,

during construction, operation, and decommissioning of the Dominion Wind Project. CFACT is

also a signatory to the 60-Day Notice of Intent to Sue letter challenging the legal adequacy of the

Biological Opinion, which was sent to the federal defendants on November 11, 2023, as required

by the Endangered Species Act, 16 U.S.C. § 1540(g)(2).”173

       CFACT members have authored numerous reports and articles documenting threats to the

Right Whale from offshore construction activities.174 The organization’s mission is to enhance

the fruitfulness of the earth and all of its inhabitants through four main strategies:

       1. Prospering Lives. CFACT works to help people find better ways to provide
          for food, water, energy and other essential human services.

       2. Promoting Progress. CFACT advocates the use of safe, affordable
          technologies and the pursuit of economic policies that reduce pollution and
          waste and maximize the use of resources.

       3. Protecting the Earth. CFACT helps protect the earth through wise stewardship
          of the land and its wildlife.

       4. Providing Education. CFACT educates various sectors of the public about
          important facts and practical solutions regarding environmental concerns.175

       In addition, “[t]o further its mission, CFACT started its Stewardship in Action program in

2003 to “showcase that the organization doesn’t just talk the talk – but also walks the walk in




173
    Id. ⁋ 2.
174
    Id. ⁋ 3 (citing Peter Murphy, Are Whales the Latest Casualties of the Climate Change
Industry? (Mar. 18, 2023), https://save-whales-stop-windmills.org/are-whales-the-latest-
casualties-of-the-climate-change-industry/; Collister Johnson, As Whales Wash Up, Feds Push
“Green” Energy on Inadequate Knowledge (Mar. 14, 2023), https://save-whales-stop-
windmills.org/as-whales-wash-up-feds-push-green-energy-on-inadequate-knowledge/.)
175
    Committee for a Constructive Tomorrow, Our Mission, https://www.cfact.org/about/ (last
visited Oct. 4, 2024).
                                                  38
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making an impact in people’s lives.”176 “Through CFACT’s ever-growing ‘Stewardship in

Action’ program, entrepreneurs are empowered, animals are protected, reliable clean drinking

water is provided, the environment is made cleaner, and so much more.”177

       “Since starting this program, CFACT has walked the walk. In Africa, for example,

CFACT has untaken a project to protect the ranchers, their cattle, and the wild lions.178 To

protect the cattle, CFACT “installs lights on the perimeter of cattle grazing land.”179

       CFACT’s efforts to protect the environment have been publicly praised:

       CFACT has been termed “invaluable” by the Arizona Republic, it has been lauded
       for its “effort to bring sound science to the environmental debate” by a former
       president of the National Academy of Sciences, and has been praised by a respected
       Boston Herald columnist for “a record of supplying absolutely solid information.180

            2. Peter Flaherty, Chairman of the National Legal and Policy Center

       Plaintiffs, National Legal and Policy Center, and its Chairman, Peter Flaherty, have and

will continue to suffer concrete injuries-in-fact resulting from the Government’s approvals and

authorizations of the Dominion Wind Project. These injuries support their standing under the

Endangered Species Act and the Administrative Procedures Act.

       Plaintiffs, National Legal and Policy Center (the Center), a nonprofit 503(c)(3)

organization that promotes sound government and corporate decision-making and opposes




176
    CFACT Ed, Uganda Pig Farmer Grateful for CFACT’s Empowerment Efforts (Nov. 23,
2023), https://www.cfact.org/2023/11/23/uganda-pig-farmer-grateful-for-cfacts-empowerment-
efforts/.
177
    Committee for a Constructive Tomorrow, Stewardship in Action,
https://www.cfact.org/stewardship-in-action/ (last visited Oct. 4, 2024).
178
    Greg Neff, CFACT Works to Protect People, Livestock, and Wildlife in Africa (May 1, 2024),
https://www.cfact.org/2024/05/01/cfact-works-to-protect-people-livestock-and-wildlife-in-
africa/.
179
    Id.
180
    Committee for a Constructive Tomorrow, Our Mission, https://www.cfact.org/about/ (last
visited Oct. 4, 2024).
                                                 39
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unlawful government actions.181 The Center is headquartered in Falls Church, Virginia, and is

being assessed a specific surcharge of $3.74 on its monthly electric bills from Dominion Energy

for this project, entitled “OSW Off-Shore Wind,” which would be eliminated if the project were

halted.182

        Peter Flaherty is the Chairman of National and he is also being assessed a surcharge of

$2.53 on his residential monthly electric bills from Dominion Energy for this project, “OSW Off-

Shore Wind,” which would be eliminated if the Court were to grant this motion.183

        These surcharges imposed for the sole purpose of proving funding for the Dominion Wind

Project constitute injury-in-fact under the ESA and the APA. As the Supreme Court held,

“economic harm to a business clearly constitutes an injury-in-fact”184 under the ESA. The Court

explained that, although species conservation is the goal of the ESA, “we think it readily

apparent that another objective (if not indeed the primary one) is to avoid needless economic

dislocation produced by agency officials zealously but unintelligently pursuing their

environmental objectives.”185

        B.     Plaintiffs Have Shown Causation

        The Court’s analysis and ruling that Rucker had shown causation sufficient to bring the

preliminary injunction is law of the case for this summary judgment motion, as neither the facts

nor the law have changed. As the Court stated:

        [C]ausation in the context of a procedural injury requires a showing of two causal
        links: “one connecting the omitted [procedural step] to some substantive
        government decision that may have been wrongly decided because of the lack of


181
    See Ex. 3, Decl. of Peter Flaherty and the National Legal and Policy Center ¶ 1.
182
    See Dominion Energy Bill for the National Legal and Policy Center, attached to Ex. 3 as
Attachment 2.
183
    See Dominion Energy Bill for P. Flaherty, attached to Ex. 3 as Attachment 1.
184
    Carpenters Indus. Council v. Zinke, 854 F.3d 1, 5 (D.C. Cir. 2017).
185
    Id. at 176–77.
                                                 40
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       [that procedural requirement] and one connecting that substantive decision to the
       plaintiffs particularized injury.”186

       Unlike tort cases, standing in an APA challenge does not require proof of a complete

chain of causation.187 “A plaintiff need not show but-for causation but must show that ‘the

procedural step was connected to the substantive result’ and that there is a ‘substantial

probability’ that the procedural mistake will create an adverse effect.”188

       As the Court found here: “Both links are present here: Mr. Rucker contends that NMFS’

failure to consider cumulative effects resulted in a deficient Biological Opinion . . . leading to

approval of a project that will hinder his ability to observe the Right Whale.”189 Plaintiffs make

those same sworn statements here190 and that satisfies the causation element of standing.

       C.      Redressability

       As this Court has correctly noted, “[w]here, as here, plaintiffs are alleging a ‘procedural

injury’ in the form of a deficient Biological Opinion, ‘the redressability and imminence

requirements’ are ‘relax[ed].’”191 Here, Plaintiffs have also shown that their injuries will be

redressable by an appropriate court order, invalidating as arbitrary and capricious the

Government’s approvals and authorizations for construction of the Dominion Wind Project.




186
    Memo. Op. and Order Denying Mot. for Stay (May 24, 2024) ECF No. 28 at 7 (quoting Ctr.
for Biological Diversity v. Env’t Prot. Agency, 861 F.3d 174, 184 (D.C. Cir. 2017) (quoting Fla.
Audubon Soc. v. Bentsen, 94 F.3d 658, 668 (D.C. Cir. 1996))).
187
    See Maine Lobstermen’s Ass’n v. Nat’l Marine Fisheries Serv., 70 F.4th 582, 593 (D.C. Cir.
2023).
188
    ECF No. 28 at 7 (quoting Ctr. for Biological Diversity v. E.P.A., 861 F.3d 174, 184 (D.C. Cir.
2017)).
189
    See ECF No. 28 at 7.
190
    See Ex. 2 ¶ 6–7.
191
    Memo. Op. and Or. Denying Mot. for Stay (May 24, 2024), ECF No. 28 at 6 (quoting
WildEarth Guardians v. Jewell, 738 F.3d 298, 305 (D.C. Cir. 2013)).
                                                 41
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        That the Company has begun the construction process does not render CFACT’s injuries

unredressable. The D.C. Circuit has held that courts have the power to redress injuries, even after

a project has been constructed. In Sierra Club v. Army Corps of Engineers,192 for example,

environmental groups challenged the actions of federal agencies that allowed the construction of

an oil pipeline and raised NEPA and Clean Water Act claims. By the time the case made it to the

D.C. Circuit, the pipeline’s construction was complete. The court nevertheless found that “an

order wholly or partly enjoining operation . . . would provide some degree of ‘effectual

relief.’”193 That is because, if the court holds “that the agencies’ NEPA analysis was inadequate

or their decisions otherwise arbitrary and capricious, [the agencies] ‘would have to correct the

decision-making process.’”194 If the NEPA analysis was legally deficient or inadequate, the court

“‘could order that the [pipeline] be closed or impose restrictions on its use’ . . . ‘until [the

agencies] complied with NEPA.”195

        Plaintiffs’ injuries from the Government’s approvals of this Project are redressable

because a favorable decision could lead to the change or relocation of the turbines, more

mitigation measures, the preparation of a supplemental EIS that responds to greater public input,

and a supplemental Biological Opinion with an updated Incidental Take Statement, and

amendments to the Construction and Operations Plan and Terms of Condition of Approval. An

order requiring the Government to reconsider its decision, considering (this time) the best

available information on the cumulative impacts of all planned and coordinated offshore wind




192
    Sierra Club v. U.S. Army Corps of Engineers, 803 F.3d 31 (D.C. Cir. 2015).
193
    Id. at 43 (quoting Church of Scientology of California v. United States, 506 U.S. 9, 12
(1992)).
194
    Id. (quoting Columbia Basin Land Prot. Ass’n v. Schlesinger, 643 F.2d 585, 591 n.1 (9th Cir.
1981)).
195
    Id. (quoting Airport Neighbors All., Inc. v. United States, 90 F.3d 426, 429 (10th Cir. 1996)).
                                                   42
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development on the continued viability of the North Atlantic Right Whale. One or more of these

results would also further ensure the protection of this critically endangered species.

CONCLUSION

       CFACT asks this Court to hold that the CFACT Plaintiffs have standing to bring their

claims and to grant this motion for summary judgment, holding that BOEM’s issuance of the

Construction and Operations Plan, based on an unlawful Biological Opinion, and approval of the

Dominion Wind Project, because of NMFS’ and BOEM’s failures to consider all known and

available information about the cumulative impacts of the 29 other planned wind turbine projects

on the highly endangered North Atlantic Right Whale, was arbitrary and capricious and unlawful

in violation of the Endangered Species Act and the Administrative Procedure Act.



Dated: October 4, 2024                                Respectfully submitted,

                                                      /s/Roger J. Marzulla
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